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IN THE UNITED sTATEs DIsTRICT coURT .
FOR THE wEsTERN DIsTRIcT oF TENNESSEE`"RDEL~ ------ 99

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STEVEN LEE GOODE ’ § W/D GF TN. MEMPH{S
Plaintiff, X
X
Vs. X NO. 05-2486-B/V
X
SHELBY COUNTY DETENTION CENTER , X
et al., X
X
Defendants. X
X
ORDER OF Dl SMI SSAL
Plaintiff Steven Lee Goode, booking number 05117211, an
inmate at the Shelby County Criminal Justice Complex (“Jail”) in

Memphis, filed a pro §§ complaint pursuant to 42 U.S.C. § 1983 on July
6, 2005. The Court issued an order on July 14, 2005 that directed the
plaintiff, within thirty days, to file the documents required by the
Prison Litigation Reforn\Act of 1995 (“PLRA”), 28 U.S.C. § 1915(a)~(b),
or remit the full civil filing fee of $250. The plaintiff’s copy of
that order was returned by the post office on July 22, 2005 with a
notation that he had been released from the Jail on July 10, 2005. To
date, the plaintiff has not supplied the clerk with a forwarding
address.

At this time, the Court has no means of ascertaining the
plaintiff's whereabouts and, therefore, cannot ask him whether he
intends to continue prosecuting this lawsuit. The most basic
responsibility of a litigant is to advise the Court of his current

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address. In light of the fact that the plaintiff has not provided the
clerk with his current address in the six weeks since his release, the
Court DISMISSES this action without prejudice, pursuant to Fed. R. Civ.

P. Ql(b), for failure to prosecute.

IT IS SO ORDERED this Q§FB` day Of August, 2005.

 

. D IEL BREEN
IT D STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02486 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Steven Lee Goode

Shelby County Detention Center
05 1 1721 1

201 Poplar Ave

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

